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                               IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE NORTHERN DISTRICT OF TEXAS
                                           DALLAS DIVISION


In re:                                                        §                 Case No. 19-34054-sgj11
                                                              §
HIGHLAND CAPITAL MANAGEMENT, L.P. 1                           §                 Chapter 11
                                                              §
         Reorganized Debtor.                                  §
HIGHLAND CAPITAL MANAGEMENT, L.P.,                            §
                                                              §
         Plaintiff.                                           §
v.                                                            §                 Adversary No. 21-03003-sgj
                                                              §
JAMES D. DONDERO, NANCY DONDERO, AND                          §
THE DUGABOY INVESTMENT TRUST,                                 §
                                                              §
         Defendants.                                          §
HIGHLAND CAPITAL MANAGEMENT, L.P.,                            §
                                                              §
         Plaintiff.                                           §
                                                              §
v.                                                            §
                                                              §                 Adversary No.: 21-03005-sgj
NEXPOINT ADVISORS, L.P., JAMES                                §
DONDERO, NANCY DONDERO, AND THE                               §
DUGABOY INVESTMENT TRUST,                                     §
                                                              §


1
 The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
for the above-captioned Debtor is 100 Crescent Court, Suite 1850, Dallas, TX 75201.


                                                         1
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         Defendants.                                          §


HIGHLAND CAPITAL MANAGEMENT, L.P.,                            §
                                                              §
         Plaintiff.                                           §
                                                              §
v.                                                            §
                                                              §                 Adversary No.: 21-03006-sgj
HIGHLAND CAPITAL MANAGEMENT                                   §
SERVICES, INC., JAMES DONDERO, NANCY                          §
DONDERO, AND THE DUGABOY                                      §
INVESTMENT TRUST,                                             §
                                                              §
         Defendants.                                          §

HIGHLAND CAPITAL MANAGEMENT, L.P.,                            §
                                                              §
         Plaintiff.                                           §
                                                              §
v.                                                            §
                                                              §                 Adversary No.: 21-03007-sgj
HCRE PARTNERS, LLC (n/k/a NEXPOINT                            §
REAL ESTATE PARTNERS, LLC), JAMES                             §
DONDERO, NANCY DONDERO AND THE                                §
DUGABOY INVESTMENT TRUST,                                     §
                                                              §
         DEFENDANTS.                                          §

                           DEBTOR’S OBJECTION TO
              MOTION TO COMPEL ARBITRATION AND STAY LITIGATION

         Highland Capital Management, L.P., the plaintiff in the above-captioned and related

adversary proceedings (the “Adversary Proceedings”) and the reorganized debtor 2 (the “Debtor”)

in the above-captioned chapter 11 case (the “Bankruptcy Case”), submits this objection (the

“Objection”) 3 to the Motion to Compel Arbitration and Stay Litigation (the “Arbitration Motion”)

filed by defendants James Dondero, Nancy Dondero, and The Dugaboy Investment Trust


2
  On February 22, 2021, the Bankruptcy Court entered the Order (i) Confirming the Fifth Amended Plan of
Reorganization (as Modified) and (ii) Granting Related Relief [Bankr. Docket No. 1943] (the “Confirmation Order”)
which confirmed the Fifth Amended Plan of Reorganization of Highland Capital Management, L.P., as modified (the
“Plan”). The Plan went Effective (as defined in the Plan) on August 11, 2021, and Highland is the Reorganized Debtor
(as defined in the Plan) since the Effective Date. See Notice of Occurrence of Effective Date of Confirmed Fifth
Amended Plan of Reorganization of Highland Capital Management, L.P. [Bankr. Docket No. 2700].
3
  This Opposition is being concurrently filed in Adversary Proceeding Nos. 21-3003, 21-3005, 21-3006, and 21-3007,
as the claims asserted against Defendants and the arguments raised in the Motion in each of these proceedings are
identical.


                                                         2
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(collectively, the “Dondero Defendants”) in each of the Adversary Proceedings. The Debtor

incorporates by this reference its contemporaneously filed brief in opposition to the Arbitration

Motion and states:

                                     RELIEF REQUESTED

        1.       By this Objection, Highland respectfully requests that the Court enter an order

denying the Arbitration Motion.

        2.       Under Rules 7.1(d) and (h) of the Local Bankruptcy Rules of the United States

Bankruptcy Court for the Northern District of Texas (the “Local Rules”), a separate brief (the

“Brief”) is being filed contemporaneously with this Objection and is incorporated by reference.

                                            PRAYER

        The Debtor respectfully requests that the Court enter an order (i) denying all the relief

requested in the Arbitration Motion, and (ii) granting the Debtor any additional relief the Court

deems just and proper.




                                                3
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 Dated: September 28, 2021.         PACHULSKI STANG ZIEHL & JONES LLP

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